

People v Solano (2021 NY Slip Op 01561)





People v Solano


2021 NY Slip Op 01561


Decided on March 18, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 18, 2021

Before: Acosta, P.J., Gische, Webber, González, JJ. 


Ind No. 3011/08 3011/08 Appeal No. 13371 Case No. 2016-02965 

[*1]The People of the State of New York, Respondent,
vMario Solano, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Nancy E. Little of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Felicia A. Yancey of counsel), for respondent.



Order, Supreme Court, Bronx County (Michael A. Gross, J.), entered on or about October 21, 2016, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion when it declined to grant a downward departure (see People v Gillotti, 23 NY3d 841 [2014]). The mitigating factors cited by defendant were adequately taken into account by the guidelines, or otherwise would not support a departure, particularly in light of the seriousness of the underlying sex crime against a young child (see People v Zepeda, 124 AD3d 417, 418 [1st Dept 2015]lv denied 25 NY3d 902 [2015]; People v Ogata, 124 AD3d 416 [1st Dept 2015], lv denied 25 NY3d 908 [2015]; see also People v Rodriguez, 145 AD3d 489, 490 [1st Dept 2016], lv denied 28 NY3d 916 [2017]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 18, 2021








